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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------)(
E. JEAN CARROLL,                                                         Civil Action No.:
                                                                         22-cv-1 0016
                                    Plaintiff,

         -against-                                                       AMENDED NOTICE OF
                                                                         APPEAL

DONALD J. TRUMP,

                                    Defendant.
--------------------------------------------------~-----------------)(


        Notice (amended) is hereby given that Defendant Donald J. Trump appeals to the United

States Court of Appeals for the Second Circuit from the judgment entered in this action on May 11,

2023 (Dkt. No. 178) ("Final Judgment") awarding Plaintiff compensatory and punitive damages

totaling $5,000,000.00, and from all adverse orders, rulings, decrees, decisions, opinions,

memoranda, conclusions, or findings preceding, leading to, merged in, or included within the Final

. Judgment, as well as the July 19, 2023 Memorandum Opinion Denying Defendant's Rule 59 Motion

(Dkt. No. 212), by the Honorable United States District Judge Lewis A. Kaplan.
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Dated: New York, New York
       July 19, 2023




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      TO:   All counsel by ECF




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